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                              UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF CALIFORNIA



                         ARREST ON OUT-OF-DISTRICT OFFENSE
                                                                             '22 MJ03667
                                                           CASE NUMBER: - - - - - - - - - -

         The person charged as mSTIN COSTELLO now appears before this United States

District Court for an initial appearance as a result of the following charges having been filed in

the United States District Court for the Western District of Washington with: Wire Fraud and

Securities Fraud in violation of 18 U.S.C. Section(s) 1343 and 2; and Title 5, U.S.C. Sections

78j(b) and 78ff and Title 17, Code of Federal Regulations, 240.lOb-5.

         The charging documents and warrant for the arrest of the defendant which was issued by

the above United States District Court are attached hereto.

         I hereby swear under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information and belief.


         DATED: October 6, 2022


                                                       s
                                                        edera    ureau of Inve'sti~ on
Reviewed and Approved

Dated:    (t//l, /')_),
            ' ~




  ~
Assistant United States Attorney
     Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.2 Page 2 of 40
             Case 2:22-cr-00160-RSM       Document 3 Filed 09/28/22 Page 1 of 1




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 4
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 6

 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9
     UNITED STATES OF AMERICA,                     NO.      CR22-160 RSM
10                        Plaintiff,
11                   v.                            ORDER ISSUING BENCH WARRANT

12 JUSTIN COSTELLO,
13                         Defendant.
14

15
16         An Indictment having been returned against the above-named defendant, now

17 therefore
18         IT IS ORDERED that a Bench Warrant shall be issued and conditions of release or
19 detention shall be addressed at the initial appearance in this case.

20         DATED this 28th day of September, 2022.

21
22
23                                             UNITED STATES MAGISTRATE JUDGE

24

25
26 SECRET: YES - - -             NO - -X
                                       --
27
     ORDER ISSUING BENCH WARRANT - 1                                UNITED STATES ATTORNEY
                                                                    700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
            Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.3 Page 3 of 40




  AO 442 (Rev. ll/11) Arrest Warrant



                                              UNITED STATES DISTRJCT COURT
                                                                                           for the
                                                                  Western District of Washington

                        United States of America
                                   v.                                                          )
                                                                                               )         CaseNo.      CR22-160 RSM
                                                                                               )
                             Justin Costello                                                   )
                                                                                               )
                                                                                               )
                               Defendant

                                                                   ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name a/person to be arrested)      -
                                        Justin    Costello --
                                        - --·--------•---       --·-----   --·--•--•·--   --
who is accused of an offense or violation based on the following document filed with the court:

r:J Indictment               O Superseding Indictment                        O Information                 O Superseding lnfonnation             O Complaint
0 Probation Violation Petition                    O Supervised Release Violation Petition                             O Violation Notice O Order of the Court

This offense is briefly described as follows:
   Count 1-17 and 21-25: Title 18, U.S.C. Sections 1343 and 2.
   Count 18-20: Title 5, U.S.C. Sections 78j(b) and 78ff and Title 17, Code of Federal Regulations, 240.10b-5.




Date:
                                                                                                                                                          V
                 09/28/2022
                                                                                                                                                     ,
                                                                                                                                                         ::_J
                                                                                                                                                          ,·



City and state:           Seattle, Washington                                                          Andy QuachJ)epJtt}7J;_l~lc___ _
                                                                                                                        Printed name and title


                                                                                          Return

           This warrant was received on (date)                                                     , and the person was arrested on (date!
at (l'i(1· and slate)

Date:


                                                                                                                       . Printed name and title ..
     Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.4 Page 4 of 40
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                                               Presented to the Court by the foreman of the
                                               Grand Jury in open Court, in the presence
 1                                             of the Grand Jury and FILED in the U.S.
                                               DISTRICT COURT at Seattle, Washington
 2                                                    Se tember 28 2022
 3

 4
 5
 6                              UNITED STATES DISTRICT COURT FOR THE
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8

 9
                                                                        NO. CR22-l 60 RSM
      UNITED STATES OF AMERICA,
10
                                  Plaintiff,                            INDICTMENT
11
12
                           v.
13
      JUSTIN COSTELLO,
14
                                  Defendant.
15
16           The Grand Jury charges that:
17 INTRODUCTION

18                    Beginning in or about late 2017, and continuing until in or about May 2021,
             1.
19   JUSTIN COSTELLO was a resident of Bellevue, Washington. During this time, WSTIN
20   COSTELLO owned several companies that ( 1) purportedly provided banking services to
21   the marijuana industry, and (2) through reverse mergers, controlled two publicly-traded
22   companies. Between in or about April 2019 and September 2022, JUSTIN COSTELLO
23   engaged in numerous fraudulent acts in connection with the banking services and the
24 publicly-traded companies.

25                    Beginning in or about the fall of 2017, WSTIN COSTELLO owned and
             2.
26 operated companies, including Pacific Banking Corp., which provided banking services
27
      Indictment - 1                                                                  UNITED STATES ATTORNEY
      United States v. Costello                                                      700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                                              SEATTLE, WASHINGTON 98101
                                                                                             (206) 553-7970
        Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.5 Page 5 of 40
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     1 to marijuana businesses located in the State of Washington, Colorado, California, Illinois,
     2 and Alaska. From 2019 to 2021, JUSTIN COSTELLO, contrary to representations he
     3 made to three marijuana businesses, fraudulently diverted their funds by co-mingling
  4 them with other clients' funds and using them elsewhere to benefit JUSTIN COSTELLO
  5 personally and his companies.
  6              3.       From at least November 2018 through July 2020, IDSTIN COSTELLO
 7 recrnited and solicited investors to make investments in several of the entities he
 8 controlled, including GRN Holding Corporation and Hempstract Inc. When soliciting
 9 these investors, IDSTIN COSTELLO made material misrepresentations, including
10 misrepresentations concerning his background and historical success in business,
11     including misrepresentations about the size and success of his marijuana banking
12 business described above.
13              4.        In June 2019 and Febrnary 2020, IDSTIN COSTELLO, through his
14 companies GRN Funds, LLC and Manufacturing 360, LLC conducted reverse mergers by
15 buying the majority of outstanding shares of two publicly traded companies: Discovery
16 Gold Corporation (later renamed GRN Holdings Corporation) and Riverdale Oil and Gas
17 Corporation (later renamed Hempstract Inc.). From June 2019 through May 2021,
18 IDSTIN COSTELLO made material misrepresentations to purchasers and sellers of GRN
19 Holding Corporation and Hempstract Inc. concerning his background and the nature of
20 the business of GRN Holding Corporation and Hempstract Inc. through public filings
21     with the U.S. Securities and Exchange Commission and press releases. IDSTIN
22 COSTELLO also engaged in manipulative trading in the securities of both issuers.
23              5.       From October 2019 through January 2021, JUSTIN COSTELLO conducted
24 a series of manipulative pump-and-dump schemes involving the securities of at least four
25     issuers, including Foothills Exploration Inc., REMSleep Holdings, Inc., Clancy Systems
26 International Inc., and Hempstract Inc. To conduct his manipulative scheme, JUSTIN
27
        Indictment - 2                                               UNITED STATES ATTORNEY
        United States v. Costello                                   700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                           SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
         Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.6 Page 6 of 40
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     1 COSTELLO: (1) purchased the securities of these issuers in brokerage accounts under his
     2 control; (2) secretly recruited and agreed to pay promoters to tout the stock on Twitter
     3 and other social media; (3) sold the stock he had accumulated after the price increased
     4 due to the illegal touting of the stock; (4) paid the promoters a share of the illicit profits
  5 for their activity.
  6 RELEVANT ENTITIES
  7              6.       GRN Funds, LLC: GRN Funds, LLC is a Washington State Limited
  8 Liability Company formed in 2017. IDS TIN COSTELLO is the managing member,
 9 owner, Chief Executive Officer (CEO), and Chairman of GRN Funds, LLC. At various
10 times in his schemes to defraud, JUSTIN COSTELLO described GRN Funds, LLC as a
11 hedge fund, private equity and capital management company. According to GRN Funds,
12 LLC's website, Pacific Banking Corp. was one of GRN Funds, LLC's "brands"; that is,
13 one of the companies operating under the GRN Funds, LLC umbrella of companies.
14 GRN Funds, LLC' s website also stated that the company had $1.15 billion under
15 management and $600 million under deposit.
16              7.        GRN Holding Corporation: GRN Holding Corporation is a Nevada shell
17 corporation formed in 2010 under the name Norman Cay Development Inc. On July 12,
18 2012, the name of the company was changed to Discovery Gold Corporation, and its
19 stock traded on the over the counter (OTC) market under the ticker symbol DCGD.
20 Between 2012 and 2018, Discovery Gold Corporation generated no revenue. On June 20,
21     2019, GRNFunds, LLC purchased 55.65% ofDiscovery Gold Corporation's outstanding
22 shares for $300,000. A private company purchasing the majority of a publicly traded
23 shell company's stock is commonly referred to as a "reverse merger." At the time,
24 Discovery Gold Corporation was trading at a price of approximately $.004 per share.
25 After completing the reverse merger, JUSTIN COSTELLO became Director, President,
26 and CEO of Discovery Gold Corporation. On July 16, 2019,"Discovery Gold
27
        Indictment - 3                                                   UNITED STATES ATTORNEY
        United States v. Costello                                       700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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     1 Corporation changed its name to GRN Holding Corporation and subsequently changed its
     2 ticker symbol to GRNF. By September 2019, GRN Holding Corporation was trading
     3 close to $2.00 per share, even though the company had yet to earn any revenue and had
     4 no business operations. GRN Holding Corporation's office address was in Seattle,
     5 Washington.
  6              8.      GRN Holding Corporation ("GRN Holding WA"): GRN Holding WA
  7 is a Washington corporation forn1ed in May 2019. According to the articles of fornrntion
  8 and initial report filed with Washington State for GRN Holding WA, WSTIN
 9 COSTELLO served as the incorporator and a Governor of the company. GRN Holding
10 WA' s office address was in Seattle, Washington. GRN Holding WA' s stock was not
11     traded on the OTC market. As set forth below, JUSTIN COSTELLO misled multiple
12 investors to believe they were purchasing shares of GRN Holding Corporation, and they
13 would be able to trade their shares on the OTC market, when in fact, JUSTIN
14 COSTELLO sold the investors shares of GRN Holding WA.
15              9.       Hempstract Inc.: Hempstract Inc. is a Nevada corporation formed in 2007.
16 Hempstract Inc. was previously known as Helisys, Inc., then Fraser Industries, Inc., and
17 finally Riverdale Oil and Gas Corporation, where it traded on the OTC market under the
18 ticker symbol RVDO through October 20, 2020, when it was changed to HPST. On
19 February 28, 2020, Manufacturing 360, LLC, another company controlled by JUSTIN
20 COSTELLO, acquired a controlling interest of the outstanding shares of Riverdale Oil
21     and Gas Corporation, and Richard Hawkins was appointed as CEO and President
22 (Hawkins was also a member of GRN Holding Corporation and was involved with
23     Pacific Banking Corp. as well). At the time Manufacturing 360, LLC acquired the
24 shares, RVDO was trading at approximately $.09 per share. Riverdale Oil and Gas
25     Corporation discontinued and spun off its oil and gas interest, and its new business plan
26 involved developing and selling hemp-based products. By July 2020, Riverdale Oil and
27
        Indictment - 4                                                UNITED STA TES ATTORNEY
        UnUed States v. Costello                                     700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                            SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
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     1 Gas Corporation was trading at approximately $1 .40 per share, despite having no revenue

     2    or business operations.
     3            10.      On August 6, 2020, Riverdale Oil and Gas Corporation acquired all the
     4 assets ofHempstract, LLC, a Washington State Limited Liability Company. According
     5 to the certificate of formation and initial report for Hempstract, LLC filed with

  6 Washington State on May 2, 2019, JUSTIN COSTELLO served as Executor/Governor of
  7 the company and Richard Hawkins was the Registered Agent. WSTIN COSTELLO
  8 received approximately 24 million shares of Riverdale Oil and Gas Corporation in

  9 exchange for Hempstract, LLC's assets, allegedly valued at approximately $11 million
10 dollars. On October 20, 2020, Riverdale Oil and Gas Corporation changed its name to
11 Hempstract Inc. According to a disclosure statement filed by Hempstract Inc. for the

12 period ending December 31, 2020, Hempstract Inc. had no revenue for the year.
13 Hempstract Inc. shared an office space in Seattle with GRN Holding Corporation, and
14 WSTIN COSTELLO owned approximately 26% of the outstanding shares ofHempstract
15 Inc. By December 31; 2021, according to an annual disclosure statement filed by the
16 company, JUSTIN COSTELLO owned approximately 55% ofthe outstanding shares of
17 Hempstract Inc. JUSTIN COSTELLO was the Chairman of the Board ofHempstract

18 Inc., until resigning on May 18, 2021.
19                                               COUNTS 1 to 8
20                                                (Wire Fraud)

21               11.      The allegations set fo1ih in Paragraphs 1 through 10 of this Indictment are

22 re-alleged and incorporated as if fully set forth herein.
23               12.      Beginning in or about April 2019 and continuing through in or about

24       September 2022, in King County, within the W estem District of Washington, and

25       elsewhere, the defendant, JUSTIN COSTELLO, knowingly devised and intended to

26       devise a scheme and artifice to defraud three marijuana businesses, and to obtain money

27
         Indictment - 5                                                   UNITED STATES ATTORNEY
         United States v. Costello                                       700 STEWART STREET, SUITE 5220
         USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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     1 and property by means of materially false and fraudulent pretenses, representations, and
  2 promises, as set forth more fully below.
  3                                   I.     THE OBJECT OF THE SCHEME
  4              13.      The object of JUSTIN COSTELLO's scheme and artifice to defraud was to
  5 obtain money by soliciting marijuana companies to use the services of his banking
  6 companies by means of materially false and fraudulent pretenses, representations, and
 7 promises; and through similar means, to divert and misappropriate portions of the
 8 marijuana companies' funds for his own personal benefit, and to conceal the diversion
 9 and misappropriation.
10                                         II.    MANNER AND MEANS
11               14.     It was part of the scheme and artifice to defraud that, between April 2019
12 and September 2022, defendant WSTIN COSTELLO owned and operated companies,
13     including Pacific Banking Corp., that purportedly provided banking services to marijuana
14     companies located in the State of Washington, California, Colorado, Illinois, and Alaska.
15 Mariiuana Business 1
16              15.      It was further part of the scheme that in or about April and June 2019,
17 Pacific Banking Corp., through JUSTIN COSTELLO, entered into agreements with a
18 California-based marijuana business ("Marijuana Business l ") to provide banking
19 services for Marijuana Business 1. In these agreements, which WSTIN COSTELLO
20 signed as the CEO of Pacific Banking Corp., Pacific Banking Corp. agreed to "only take
21     actions on the account or execute transactions as authorized by [Marijuana Business l],"
22     and that "Pacific Banking Corp. [would] not unreasonably fail to take actions or execute
23     transactions." In addition, Pacific Banking Corp. agreed to produce monthly statements
24 to Marijuana Business 1 for the account.
25              16.      In or about August 2019, Pacific Banking Corp., through JUSTIN
26     COSTELLO, and Marijuana Business 1 entered into a custodial banking agreement. This
27
        Indictment - 6                                                   UNITED STATES ATTORNEY
        United States v. Costello                                       700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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     1 agreement required Pacific Banking Corp. to set up a Special Purpose Vehicle (SPY) oi1
     2 behalf of Marijuana Business 1 and open a bank account in the name of the SPY through
     3 which Pacific Banking Corp. would process financial transactions on behalf of Marijuana
     4 Business 1.
     5            17.      Like the agreements described above, the Custodial Banking Agreement
  6 required Pacific Banking Corp. to "only take actions on the account or execute
  7 transactions as authorized by [Marijuana Business l]." JUSTIN COSTELLO, through
  8 Pacific Banking Corp., also agreed that it "[would] not unreasonably fail to take or
 9 execute transactions."
10                18.      On or about May 7, 2019, Marijuana Business 1 transferred $9. 8 million
11       from a foreign bank account to a bank account belonging to GRN Funds, LLC at O Bee
12 Credit Union located in the State of Washington pursuant to the agreements with Pacific
13 Banking Corp. and JUSTIN COSTELLO. JUSTIN COSTELLO was the only authorized
14 signer on the GRN Funds, LLC bank account.
15               19.      After the initial deposit on or about May 7, 2019, Marijuana Business 1
16 deposited another approximately $4 million into bank accounts JUSTIN COSTELLO
17 controlled. During his scheme to defraud, JUSTIN COSTELLO transferred a portion of
18 Marijuana Business 1's funds through the GRN Funds, LLC bank account and other bank

19 accounts he controlled.
20               20.      Between May 7, 2019, and in or about October 2020, JUSTIN
21       COSTELLO, contrary to his representations to Marijuana Business 1, diverted and
22 misappropriated approximately $3 million of Marijuana Business l's funds to benefit his
23       other companies, to make payments on behalf of other Pacific Banking Corp. clients, and
24 for his personal benefit.
25              21.       For example, on or about May 20, 2019, JUSTIN COSTELLO fraudulently
26 diverted Marijuana Business l's money to fund a portion of a $50,000 payment to a
27
         Indictment - 7                                                  UNITED STATES ATTORNEY
         United States v. Costello                                      700 STEWART STREET, SUITE 5220
         USAO No. 2019R00959                                              SEATILE, WASHINGTON 9810 l
                                                                                (206) 553-7970
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     1 securities attorney located in California for an initial payment for the purchase of
     2 Discovery Gold Corporation by his company, GRN Funds, LLC. On or about June 19,
     3 2019, WSTIN COSTELLO fraudulently diverted an additional $250,000 of Marijuana
     4 Business 1's funds to the California-based securities attorney to complete the purchase of
  5 Discovery Gold Corporation.
  6              22.      In or about November 2019, Marijuana Business 1 requested that Pacific
  7 Banking Corp. make a $1 million tax payment to the State of California. WSTIN
  8 COSTELLO and Pacific Banking Corp. did not make the payment because by that time
 9 WSTIN COSTELLO had diverted and misappropriated the funds of Marijuana Business
10 1 and used them to benefit JUSTIN COSTELLO's other companies and for his own
11 benefit. JUSTIN COSTELLO falsely stated to Marijuana Business 1 that Pacific
12 Banking Corp. had made the payment. In addition, Pacific Banking Corp. provided
13 Marijuana Business 1 with false and fraudulent account statements showing that the
14 payment had been made, but then returned to the account. In fact, no payment had been
15 made on behalf of Marijuana Business I.
16              23.      In January 2020 and March 2020, Marijuana Business 1 requested that
17 Pacific Banking Corp. make two additional payments of $1.2 million (a tax payment to
18 the State of California) and $380,000 (a payment for Marijuana Business 1's payroll
19 expenses), respectively. Like the last request, JUSTIN COSTELLO and Pacific Banking
20 Corp. did not make these payments because WSTIN COSTELLO had diverted and
21 misappropriated Marijuana Business l's funds to benefit JUSTIN COSTELLO's other
22 companies and for his own benefit.
23              24.      Between December 2019 and September 2022, JUSTIN COSTELLO,
24 through Pacific Banking Corp., continued to provide Marijuana Business I false account
25 statements showing that Pacific Banking Corp. maintained custody and control of
26 Marijuana Business l's funds even though JUSTIN COSTELLO had diverted a
27
        Indictment - 8                                                 UNITED STATES ATTORNEY
        United States v. Costello                                     700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                             SEATILE, WASHINGTON 9810 l
                                                                              (206) 553-7970
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     1 significant portion of Marijuana Business l's funds to benefit JUSTIN COSTELLO's

     2 other companies and for his own benefit.
  3             25.      On March 26, 2020, Marijuana Business 1 filed a lawsuit against Pacific
  4 Banking Corp., JUSTIN COSTELLO, and GRN Funds, LLC in U.S. District Court for
  5 the Northern District of California alleging breach of contract, among other claims. On
 6 April 24, 2020, the Court issued a preliminary injunction order prohibiting JUSTIN
 7 COSTELLO and the other defendants from: "[u]sing, drawing down, transferring or in
 8 any way reducing the funds deposited with [Pacific Banking Corp.] by [Marijuana
 9 Business 1] without their consent." On September 8, 2022, the Court ordered JUSTIN
10 COSTELLO and the other defendants to file by September 15, 2022, a Declaration under
11 penalty of perjury identifying where Marijuana Business 1's funds subject to the
12 preliminary injunction order were located, including "the name and address of the
13     financial institution, the type of account being used, the full and exact account number,
14 and the balance of funds as of September 9, 2022." The Court also directed IDS TIN
15 COSTELLO and the other defendants to "ce1iify that defendants have adhered to the
16 injunction from the time it was issued."
17             26.      On September 15, 2022, IDSTIN COSTELLO filed a Declaration in
18 response to the Comi' s Order and signed it under penalty of perjury. In his Declaration,
19 JUSTIN COSTELLO stated that Marijuana Business l's funds were located "in an
20 aggregate account in the name of Defendant GRN Funds, LLC" located at Sound Credit
21     Union in Tacoma, Washington. JUSTIN COSTELLO also stated that the account was a
22 checking account and the "'balance of funds as of September 9, 2022' is at least
23     $2,923,858.13 for funds in the account that are attributable to [Marijuana Business 1]."
24 WSTIN COSTELLO also certified that he had abided by the Comi's preliminary
25 injunction since it was issued. Contra1y to JUSTIN COSTELLO's sworn statements, the
26
27
       Indictment - 9                                                  UNITED STA TES ATTORNEY
       United States v. Costello                                      700 STEWART STREET, SUITE 5220
       USAONo. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
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 1 GRN Funds, LLC checking account at Sound Credit Union had a balance of $15 .3 5 as of

 2 September 9, 2022.
 3 Mariiuana Business 2
 4           27.       On or about July 12, 2019, another business involved in the marijuana
 5 industry ("Marijuana Business 2") entered into two Capital Management Agreements

 6 with Pacific Banking Corp. to create two accounts at Pacific Banking Corp. JUSTIN
 7 COSTELLO signed the agreements on behalf of Pacific Banking Corp. In both
 8 documents, JUSTIN COSTELLO agreed that Pacific Banking Corp. would "only take

 9 actions on the account or execute transactions as authorized by [Marijuana Business 2],
10 and that "[Pacific Banking Corp. would] not unreasonably fail to take actions or execute

11 transactions."
12           28.      When negotiating the agreements with Marijuana Business 2, JUSTIN
13 COSTELLO told Marijuana Business 2's Chief Executive Officer that: (1) GRN Funds
14 held a bank account for Pacific Banking Corp. as Pacific Banking Corp.'s custodian; (2)
15 Pacific Banking Corp. would set up two separate bank accounts for Marijuana Business 2
16 under the GRN Funds bank account; and (3) Marijuana Business 2's funds would be the

17 only funds in these separate bank accounts.
18           29.      Based upon these representations, Marijuana Business 2 transferred a total
19 of $275,000 to the GRN Funds bank account between June 2019 and October 2019.
20 Between August 2019 and February 202_1, JUSTIN COSTELLO transferred $155,013.08

21   back to Marijuana Business 2.
22           30.       Contrary to JUSTIN COSTELLO's representations to Marijuana
23 Business 2, JUSTIN COSTELLO did not create separate bank accounts for Marijuana
24 Business 2's funds. Rather, JUSTIN COSTELLO commingled Marijuana Business 2's
25 funds in the GRN Funds LLC bank account with the funds of other Pacific Banking Corp.
26 clients, including Marijuana Business 1. JUSTIN COSTELLO diverted and

27
      Indictment - 10                                                 UNITED STA TES ATTORNEY
      United States v. Costello                                      700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                              SEATTLE, WASHfNGTON 98101
                                                                             (206) 553-7970
       Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.14 Page 14 of 40
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     1 misappropriated approximately $122,000 of Marijuana Company 2's funds to benefit
     2 IDSTIN COSTELLO's other companies, to make payments on behalf of other Pacific
     3 Banking Corp. clients, and for his personal benefit.
  4              31.      To conceal his diversion of Marijuana Business 2' s funds, JUSTIN
  5 COSTELLO made several false lulling statements to Marijuana Business 2. On October
  6 28, 2020, JUSTIN COSTELLO, through Pacific Banking Corp., entered into a Mutual
  7 Termination and Release Agreement with Marijuana Business 2. In the Mutual
  8 Termination and Release Agreement, JUSTIN COSTELLO agreed to pay Marijuana
  9 Business 2 $134,249.54, the balance reflected in the final account statement for
10 Marijuana Company 2's accounts with Pacific Banking Corp., following the execution of
11 the agreement. Contrary to the representation in the agreement, IDSTIN COSTELLO did
12 not pay Marijuana Business 2.
13              32.      On February 19, 2021, JUSTIN COSTELLO entered into an addendum to
14 the Mutual Termination and Release Agreement with Marijuana Business 2. In the
15 addendum, JUSTIN COSTELLO agreed to pay Marijuana Business 2 $20,000 of the
16 $134,249.54 that remained due to Marijuana Business 2, with the remaining balance to be
17 paid within 30 days after the $20,000 transfer. IDSTIN COSTELLO did transfer $20,000
18 to Marijuana Company 2 on February 23, 2021, from a bank account in the name of a
19 different company JUSTIN COSTELLO owned, but he never paid the remaining balance.
20 Mariiuana Business 3
21              33.      Between March 2020 and September 2021, JUSTIN COSTELLO engaged
22 in similar fraudulent activity with another marijuana business located in Alaska
23     ("Marijuana Business 3"). On or about March 5, 2020, Marijuana Business 3 entered
24 into a Capital Management Agreement with Pacific Banking Corp. to provide access to
25 an "aggregate" bank account with banking services. In the document, Pacific Banking
26 Corp. agreed it would "only take actions on the account or execute transactions as
27
        Indictment - 11                                                 UNITED STATES ATTORNEY
        United States v. Costello                                      700 STEWART STREET, SUITE 5220
        USAO No. 20 l 9R00959                                            SEATTLE, WASHfNGTON 98101
                                                                               (206) 553-7970
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     1 authorized by [Marijuana Business 3], and that "[Pacific Banking Corp. would] not
     2 unreasonably fail to take actions or execute transactions." Marijuana Business 3 did not
  3 receive a counter-signed Capital Management Agreement from WSTIN COSTELLO.
  4 On or about March 12, 2020, however, Marijuana Business 3 received a welcome letter
  5 from Pacific Banking Corp. signed by JUSTIN COSTELLO that provided their new
  6 account information and wire transfer instructions.
 7              34.      On March 17, 2020, and March 18, 2020, Marijuana Business 3 transfened
 8 $50,000 each day to a bank account belonging to GRN Funds, LLC at Sound Credit
 9 Union located in the State of Washington. WSTIN COSTELLO was the only authorized
10 signer on the GRN Funds LLC Sound Credit Union bank account. Thereafter, Marijuana
11 Business 3 caused an additional approximately $1.5 million to be deposited into the GRN
12 Funds, LLC account through a third-party processor.
13              35.      On or about July 10, 2020, Marijuana Business 3 requested that Pacific
14 Banking Corp. make a $115,022 tax payment to the IRS. Pacific Banking Corp. failed to
15 make the payment, although the online portal provided to Marijuana Business 3 by
16 Pacific Banking Corp. falsely indicated the payment was completed. On or about
17 September 18, 2020, Marijuana Business 3 requested Pacific Banking Corp. make a
18 $11,200 payment to the IRS. Pacific Banking Corp. issued a check to the IRS, which was
19 later returned for insufficient funds.
20             36.      By December 2020, Pacific Banking Corp. was not processing any of
21 Marijuana Business 3 's requests, including Marijuana Business 3 's requests to return its
22 funds. In May 2021, JUSTIN COSTELLO falsely promised Marijuana Business 3 that
23 their funds would be returned by the end of the week. In fact, by May 2021, the balance
24 in the GRN funds LLC account was less than $1,500 because JUSTIN COSTELLO had
25 diverted and misappropriated Marijuana Company 3 's funds to benefit JUSTIN
26 COSTELLO's other companies, to make payments on behalf of other Pacific Banking
27
        Indictment - 12                                                 UNITED STATES ATTORNEY
        UnNed States v. Costello                                       700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                              SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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     1 Corp. clients, and for his personal benefit. Meanwhile, JUSTIN COSTELLO, through
     2 Pacific Banking Corp., continued to provide Marijuana Business 3 with false account
     3 statements showing that Pacific Banking Corp. maintained custody and control of
 4 Marijuana Company 3's funds.
 5               37.      Pacific Banking Corp. agreed to release Marijuana Business 3's funds only
 6 after a Mutual Tennination and Release Agreement was signed. In July 2021, Pacific
 7 Banldng Corp. provided an Agreement that listed a $398,826 balance due to Marijuana
 8 Business 3. In September 2021, Pacific Banking Corp. provided a revised Agreement
 9 that added the $115,022 IRS payment, which was under "reconciliation." To date,
10 Marijuana Business 3 has not received any of their funds and their tax obligations with
11 the IRS have not been paid by JUSTIN COSTELLO or Pacific Banking Corp.
12              38.      In total, JUSTIN COSTELLO's fraudulent conduct related to his marijuana
13     banking businesses caused total losses of approximately $3.7 million dollars to Marijuana
14 Business 1, Marijuana Business 2, and Marijuana Business 3.
15                             III.   EXECUTION OF THE SCHEME TO DEFRAUD
16              39.      On or about the dates set forth below, at Seattle and elsewhere, in the
17 Western District of Washington, WSTIN COSTELLO, for the purpose of executing the
18 scheme and artifice described above, caused to be transmitted by means of wire
19 communication in interstate and foreign commerce the signals and sounds described
20 below, with each transmission constituting a separate Count of this Indictment:
21                        Count              Date                  Wire Communication

22                                                          $9,800,000 wire from bank
                                                            account in another country for
23                                                          benefit of Marijuana Business 1 to
24                            1          May 7, 2019        GRN Funds banlc account at 0
                                                            Bee Credit Union in the State of
25                                                          Washington
26
27
        Indictment - 13                                                   UNITED STATES ATTORNEY
        United States v. Costello                                        700 STEWART STREET, SUITE 5220
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                                                       $50,000 wire from the ORN
 1                                                     Funds bank account at O Bee
 2                                                     Credit Union in the State of
                           2        May 20, 2019       Washington to a Citibank bank
 3                                                     account in the State of California
                                                       for the purpose of buying
 4
                                                       Discovery Gold Corp,
 5                                                     $250,000 wire from the GRN
                                                       Funds bank account at O Bee
 6
                                                       Credit Union in the State of
 7                         3        June 19, 2019      Washington to a Citibank bank
                                                       account in the State of California
 8                                                     for the purpose of buying
                                                       Discovery Gold Corp.
 9
                                                       Email from JUSTIN COSTELLO
10
                                                       from the State of Washington to
11                                                     Marijuana Business 2 in the State
                           4        July 12, 2019      of Illinois attaching signed Capital
12                                                     Management Agreements between
13                                                     Pacific Banking Corp. and
                                                       Mariiuana Company 2
14                                                     $80,000 wire transfer from
                                                       Marijuana Business 2's bank
15
                                                       account at Partner Colorado Credit
16                         5      September 20, 2019   Union in the State of Colorado to
                                                       the ORN Funds bank account at 0
17                                                     Bee Credit Union in the State of
18                                                     Washington
                                                       $50,000 wire transfer from
19                                                     Marijuana Business 2' s bank
                                                       account at Partner Colorado Credit
20
                           6       October 28, 2019    Union in the State of Colorado to
21                                                     the ORN Funds bank account at 0
                                                       Bee Credit Union in the State of
22                                                     Washington
23                                                     $50,000 wire transfer for the
                                                       benefit of Marijuana Business 3
24                         7       March 17, 2020      from another State through
                                                       FedWire to the GRN Funds bank
25
                                                       account at Sound Credit Union in
26                                                     the State of Washington

27
      Indictment - l 4                                              UNITED STATES ATTORNEY
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                                                               $50,000 wire transfer for the
     I
                                                               benefit of Marijuana Business 3
                                8        March 18, 2020
     2                                                         from another State through
                                                               FedWire to the GRN Funds bank
     3
                                                               account at Sound Credit Union in
     4                                                         the State of Washington

     5
                  All in violation of Title 18, United States Code, Sections 1343 and 2.
  6
                                                 COUNTS 9 to 17
  7                                               (Wire Fraud)
  8               40.      The allegations set forth in Paragraphs 1 through 38 of this Indictment are
 9 re-alleged and incorporated as if fully set forth herein.

                  41.      Beginning in or about November 2018 and continuing through in or about
11       May 2021, in King County, within the Western District of Washington, and elsewhere,
12 the defendant, JUSTIN COSTELLO, knowingly devised and intended to devise a scheme

13       and artifice to defraud investors, and to obtain money and property by means of
14 materially false and fraudulent pretenses, representations, and promises, as set forth more
15 fully below.
16                             .I.   THE OBJECT OF THE SCHEME TO DEFRAUD
17               42.      The object of mSTIN COSTELLO's scheme and artifice to defraud was to
18       obtain money by soliciting investors to invest in several entities he owned or controlled,

19 including GRN Holding Corporation and Hempstract Inc., and mislead purchasers and
20       sellers of GRN Holding Corporation and Hempstract Inc. in the public markets by means
21       of materially false and :fraudulent pretenses, representations, and promises; and through

22 similar means, to divert and misappropriate portions of the investors' funds for his own
23 personal benefit and to conceal his diversions and misappropriations, and the loss of
24 funds he caused.
25
26
27
         Indictment - 15                                                   UNITED STA TES ATTORNEY
         United States v. Costello                                        700 STEWART STREET, SUITE 5220
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     1                                        II.     MANNER AND MEANS
     2 JUSTIN COSTELLO's fraudulent solicitation ofprivate investors
     3            43.      It was part of the scheme to defraud that JUSTIN COSTELLO solicited
  4 funds from investors based on material misrepresentations, including, but not limited to,
  5 false representations regarding his educational and employment background,
  6 qualifications, assets, and investment strategy. Specifically, when soliciting investors,
  7 WSTIN COSTELLO made the following false representations:
  8                                  a.   he had graduated from the University of Minnesota with a
 9 degree in Public Business Administration and had a Master's in Business Administration
10 (MBA) from Harvard Business School;
11                                   b.   he had served in the armed forces, had done two tours in Iraq,
12 and had been wounded twice;
13                                   C.   he was a billionaire;
14                                   d.   he managed money for wealthy individuals, including a Saudi
15 sheikh;
16                                   e.   he had 14 years of experience on Wall Street; and
17                                   f.   he was the Chief Executive Officer of GRN Funds, LLC, a
18 private equity fund and hedge fund with over $1 billion in assets under management.
19 Investors B.M. and J.M.
20               44.      For example, WSTIN COSTELLO met investors B.M. and J.M., a married
21       couple, in or about January 2019. WSTIN COSTELLO told B.M. and J.M. that he was a
22 self-made hedge fund billionaire and that he managed money for wealthy people,
23       including a Saudi sheikh. JUSTIN COSTELLO also told B.M. and J.M. that he had an
24 MBA from Harvard, and that he had been in the Special Forces, was shot twice, and had
25       shrapnel in his leg. In addition, on or about September 12, 2019, WSTIN COSTELLO
26 sent text messages to B.M. touting his support from billionaires in the Seattle area.
27
         Indictment - 16                                                    UNITED STA TES ATTORNEY
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     1 Specifically, JUSTIN COSTELLO sent B.M. messages that claimed, "Local titans
     2 showing me love" and referenced that he had already reached the founders of two
     3 prominent companies in Seattle and Redmond. JUSTIN COSTELLO then falsely
     4 asserted "They are supporting us now."
     5            45.      It was further part of the scheme to defraud that, to portray himself as a
  6 successful billionaire, JUSTIN COSTELLO expressed interest in buying a multi-million-
  7 dollar house through B.M., a real estate agent. B.M. told JUSTIN COSTELLO that he
 8 needed to provide proof of funds showing that he had sufficient funds to buy an $11
 9 million dollar house before he could view it. In response, JUSTIN COSTELLO gave
10 B.M. a May 2019 0 Bee Credit Union bank statement for GRN Funds, LLC showing a
11       balance of approximately $9 million dollars. Thus, JUSTIN COSTELLO falsely led
12 B.M. to believe the funds belonged to him to create the illusion that he was a successful
13 money manager. In fact, the funds belonged to Marijuana Business 1.
14               46.      Based upon JUSTIN COSTELLO's false and fraudulent representations,
15 B.M. and J.M. agreed to purchase stock from JUSTIN COSTELLO. For example, in or
16 about July 2019, JUSTIN COSTELLO solicited B.M. and J.M. to invest in GRN Holding
17 Corporation. Based upon JUSTIN COSTELLO's representations, B.M. and J.M.
18 believed they were buying stock that they would be able to trade publicly. Contrary to
19 JUSTIN COSTELLO's representations, JUSTIN COSTELLO sold B.M. and J.M.
20 approximately 500,000 shares of GRN Holding WA, the Washington State corporation
21 privately controlled by JUSTIN COSTELLO, for $250,000. In addition, based on
22 JUSTIN COSTELLO's false representations, B.M. and J.M. also purchased 9,000,000
23 restricted shares of Discovery Gold Corp. from JUSTIN COSTELLO, for a price of
24 $1,800,000 in July 2019.
25               4 7.     In addition to soliciting them to invest directly in his companies, JUSTIN
26 COSTELLO offered to manage B.M. and J.M. 's money in an investment trading account.
27
         Indictment - 17                                                    UNITED STATES ATTORNEY
         United States v. Costello                                         700 STEWART STREET, SUITE 5220
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     1 WSTIN COSTELLO told B.M. that he was a "licensed investment guy." In fact,
  2 WSTIN COSTELLO did not hold any securities licenses. JUSTIN COSTELLO directed
  3 B .M. and J.M. to open a brokerage account at TD Ameritrade, which they did in July
  4 2019, funding the account with $4,000,000. B.M. and J.M. signed an agreement with
  5 WSTIN COSTELLO to pay him 20% of the profits in their account. JUSTIN
 6 COSTELLO represented that he was providing them a "friends and family" discount, and
 7 that he was waiving his typical capital management fee. B.M. and J.M. provided
 8 JUSTIN COSTELLO with the login and password information for their brokerage
 9 account. Thereafter, JUSTIN COSTELLO conducted all the trading in B.M. and J.M. 's
10 account.
11             48.       On August 1, 2019, a representative of TD Ameritrade asked B.M. if she
12 was being charged a fee for advice about the brokerage account. B.M. asked JUSTIN
13 COSTELLO how to respond and he told B.M. to respond "no" even though he was
14 charging a B.M. and J.M. a 20% fee. For example, JUSTIN COSTELLO provided B.M.
15 and J.M. a $29,553.17 invoice, dated August 29, 2019, for 20% profit sharing in their
16 account, which they paid. JUSTIN COSTELLO attached to the invoice a list of the
17 transactions in the account in July 2019. The transactions consisted entirely of purchases
18 and sales of GRN Holding Corporation (known as Discovery Gold Corporation at the
19 time), the company in which JUSTIN COSTELLO, through GRN Funds LLC, had
20 acquired a controlling interest on June 20, 2019. By engaging in this trading in B.M. and
21 J.M.'s account, JUSTIN COSTELLO inflated the trading volume and share price of GRN
22 Holding Corporation. During this time, the stock experienced an increase in share price:
23     from approximately $.003 per share at the end of June 2019 to $.39 per share by the end
24 of July 2019, even though the company still had not earned any revenue or had any
25 business operations.
26
27
       Indictment - 18                                                UNITED STA TES A TIORNEY
       United States v. Costello                                     700 STEWART STREET, SUITE 5220
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     l Investor S. T.
     2            49.      Investor S.T. met WSTIN COSTELLO in or about August 2019. To

     3 induce her to invest, JUSTIN COSTELLO told S.T. that he went to Harvard, managed
     4 money for a sheikh, and was the youngest billionaire under 40 years old.
     5            50.      In or about February 2020, JUSTIN COSTELLO offered to sell restricted
  6 shares ofHempstract Inc. (then known as Riverdale Oil and Gas Corporation) to S.T. as

  7 part of a "friends and family" deal. In reliance on WSTIN COSTELLO's
  8 representations, S.T. gave WSTIN COSTELLO a check in the amount of $100,038 for

 9 shares ofHempstract Inc. S.T. also gave JUSTIN COSTELLO a check for $125,000 for
10       shares of GRN Holding Corporation. JUSTIN COSTELLO deposited S.T.'s check for
11       $125,000 into his personal bank account. JUSTIN COSTELLO spent at least $42,000 of
12       S.T.'s $125,000 on personal expenses, including for wedding expenses.
13               51.      In addition to soliciting her to invest directly into these companies, JUSTIN
14 COSTELLO told S.T. to open a brokerage account and said that he would provide her
15       investment advice for trading in the account. S.T. opened the account in March 2020 and
16 funded the account with $400,000. S.T. conducted all the trading in the account, but
17 WSTIN COSTELLO told S.T. what stocks to buy and sell. Among other stocks,
18 WSTIN COSTELLO told S.T. to buy and sell GRN Holding Corporation and

19 Hempstract Inc. (then trading as Riverdale Oil and Gas Corporation). Based on WSTIN
20       COSTELLO's representations, S.T. believed that all the stocks she traded in her account
21       were companies owned by JUSTIN COSTELLO, and that he intended to merge them into

22       a conglomerate marijuana business. Based upon JUSTIN COSTELLO's fraudulent
23       investment advice, S.T. lost approximately $51,000 trading in her brokerage account.
24 Investors J. W. and D. W.
25               52.      Investor J.W. met JUSTIN COSTELLO in or about November 2018.
26       When soliciting J.W. to invest in GRN Holding Corporation (then known as Discovery
27
         Indictment - 19                                                  UNITED STATES ATTORNEY
         United States v. Costello                                       700 STEWART STREET, SUITE 5220
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     1 Gold Corporation), JUSTIN COSTELLO told J.W. that he was a former military
     2 commando who had done two tours in Iraq and had been shot twice. In addition, JUSTIN
     3 COSTELLO told J. W. that he was a billionaire, and that GRN Holding Corporation was a
  4 conglomerate which owned or was acquiring companies in the cannabis industry,
  5 including companies that provided financial services to marijuana businesses.
  6              53.      To support this claim, on or about October 14, 2019, JUSTIN COSTELLO
 7 emailed J.W. a list of the twelve companies purportedly operating or soon to be operating
 8 under the GRN Holding Corporation umbrella, as well as their purported annual revenues
 9 and assets. The first six companies listed were purported marijuana producers/processors
10 with supposed annual revenues between $1 million and $5 million and annual profits
11 between $200,000 and $2 million. Contrary to JUSTIN COSTELLO's representations,
12 GRN Holding Corporation did not control or acquire any marijuana producers/processers
13 generating these amounts of revenue or profits.
14              54.      The list also included a "merchant processing company" that processed
15 $221 million per year and earned a 1% commission on the transactions (earning $2.21
16 million per year) and a "bank holding company" with $26 million in free trading stock
17 holdings and $1.2 billion in d_eposits on which the bank holding company earned
18 commissions of .75% (earning $9 million per year). Although JUSTIN COSTELLO
19 controlled Pacific Banking Corp. and other companies involved in the marijuana banking
20 industry, JUSTIN COSTELLO's claims about the amount of funds processed and size of
21     deposits were false. In addition, as set forth above in this Indictment, JUSTIN
22 COSTELLO, through Pacific Banking Corp., was defrauding at least two marijuana
23 businesses at or around the time he made this statement to J. W.
24              55.      Based upon JUSTIN COSTELLO's false and fraudulent representations,
25 J.W. and D.W. agreed to purchase stock from JUSTIN COSTELLO. For example, in or
26 about November 2019, JUSTIN COSTELLO solicited J.W. and D.W. to invest in GRN
27
        Indictment - 20                                                UNITED STATES ATTORNEY
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 I Holding Corporation. Based upon JUSTIN COSTELLO's representations, J.W. and
 2 D.W. believed they were buying stock in the company described in JUSTIN
 3 COSTELLO's email. Contrary to WSTIN COSTELLO's representations, JUSTIN
 4 COSTELLO sold J.W. and D.W. approximately 33,333 restricted shares of GRN Holding
 5 WA, the privately held corporation, for $25,000 each. In addition, D.W. purchased free
 6 trading shares of GRN Holding Corporation in his brokerage account.

 7           56.      On or about February 27, 2020, JUSTIN COSTELLO sent J.W. a text
 8 message indicating that the "Hempstract IPO is happening." JUSTIN COSTELLO then
 9 directed J.W. to open a brokerage account to purchase shares of the shell company
10 Hempstract, LLC intended to acquire. To entice J.W. to purchase these shares, JUSTIN
11   COSTELLO told him the shares would have an "epic ipo run." In addition, mSTIN
12 COSTELLO falsely told J.W. that a large grocery business in Chicago named
13 Dominick's had made a $12 million purchase order for Hempstract products. Following
14 these representations, J.W. opened a brokerage account and purchased 16,900 shares of
15 Riverdale Oil and Gas Corp. in March 2020. On April 28, 2020, approximately one
16 month later, Riverdale Oil and Gas Corp. announced a non-binding letter of intent to

17 acquire the assets ofHempstract, LLC.
18 Hempstract; LLC investors
19           57.      On March 9, 2020, JUSTIN COSTELLO made an investor presentation to
20 several prospective investors in Hempstract, LLC prior to its merger into Riverdale Oil
21   and Gas Corp. During the investor presentation, JUSTIN COSTELLO made several false
22 statements concerning his background and the potential operation ofHempstract, LLC,

23   including:
24                                a.   he worked in Seattle, but also had offices in London and New

25 York;
26
27
      Indictment - 21                                                   UNITED STATES ATTORNEY
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     1                               b.   he was a banker for the marijuana industry and had over 400
     2 clients for which he provided banking services;
     3                               C.   he conservatively anticipated sales for Hempstract, LLC of $1
     4 million to $1.5 million per month starting in two to three months; and
     5                               d.   he claimed to have a few smaller family offices and hedge
  6 funds involved in the deal.
  7               58.      At the conclusion of the investor presentation, D.D, relying on JUSTIN
  8 COSTELLO's representations, gave WSTIN COSTELLO a check for $20,000 for
  9 200,000 restricted shares of Hempstract, LLC (later converted into Hempstract Inc.
10 shares). JUSTIN COSTELLO told D.D. that he would tum the $20,000 into $400,000 to
11       $500,000.
12               59.      In reliance on JUSTIN COSTELLO's false and fraudulent representations
13 set forth above, approximately 29 investors collectively lost approximately $6 million.
14 JUSTIN COSTELLO's false and fraudulent statements to the public
15               60.      It was further part of JUSTIN COSTELLO's scheme and artifice to defraud
16 that he made or caused to be made material misrepresentations to purchasers and sellers
17 of the securities of GRN Holding Corporation and Hempstract Inc. through public
18 statements that contained material misrepresentations and omissions concerning WSTIN
19       COSTELLO's educational and professional background; concerning GRN Holding
20       Corporation's acquisition of other companies, including companies owned and controlled
21       by JUSTIN COSTELLO; and concerning Hempstract Inc.'s business prospects, including
22 the value of its assets.
23       GRN Holding Corporation
24               61.      On July 1, 2019, Discovery Gold Corporation filed a Form 8-K with the
25 U.S. Securities and Exchange Commission, announcing the purchase of the majority of
26 its outstanding shares by GRN Funds, LLC. At the time of the acquisition, JUSTIN
27
         Indictment - 22                                                   UNITED STATES ATTORNEY
         United States v. Costello                                        700 STEWART STREET, SUITE 5220
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     1 COSTELLO was named the Director, President, and CEO of Discovery Gold
     2 Corporation. In the Fonn 8-K, which JUSTIN COSTELLO signed as CEO, WSTIN
  3 COSTELLO was described as a graduate of the University of Minnesota with a degree in
  4 Public Business Administration and a graduate of the Harvard Business School. The
  5 Form 8-K also falsely described GRN Funds, LLC as a "private equity and hedge fund."
  6 As set forth above, the GRN Funds, LLC website falsely stated that the company had
  7 $1.15 billion under management and $600 million under deposit. At the time, Discovery
  8 Gold Corporation was trading at a price of $.003 per share.
 9             62..      On or about August 12, 2019, an online article was published that
10 questioned WSTIN COSTELLO's statements concerning his educational history. On
11     October 2, 2019, after GRN Holding Corporation's stock price had risen :from $.003 per
12 share to approximately $1.14 per share, JUSTIN COSTELLO filed or caused to be filed
13     an amended Fonn 8-K purportedly to correct his prior statements concerning his
14 educational background. The amended Form 8-K stated that WSTIN COSTELLO was a
15 graduate of Winona State University with a degree in Public Administration who
16 attended Harvard University but did not graduate. This statement was also misleading.
17 JUSTIN COSTELLO only took one course in Harvard's continuing education program.
18             63.      As paii of his scheme and artifice to defraud and to fraudulently inflate the
19 share price of GRN Holding Corporation, JUSTIN COSTELLO made or caused to be
20 made several misrepresentations in press releases and filings with the U.S. Securities and
21     Exchange Commission concerning GRN Holding Corporation's potential acquisitions of
                                                              ,

22 other companies, including Pacific Banking Corp. JUSTIN COSTELLO's false
23 representations caused investors to believe that GRN Holding Corporation's assets and
24 revenue were going to increase after these purported acquisitions.
25             64.      On November 12, 2019, at WSTIN COSTELLO's direction, GRN Holding
26     Corporation issued a press release stating that it-had signed non-binding Letters oflntent
27
       Indictment - 23                                                   UNITED STATES ATTORNEY
       United States v. Costello                                        700 STEWART STREET, SUITE 5220
       USAO No. 2019R00959                                                SEATILE, WASHINGTON 98101
                                                                                (206) 553-7970
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     1 to acquire at least ten companies, including Pacific Banking Corp., subject to the
     2 completion of due diligence and execution of material definitive agreements. The press
  3 release also stated that the acquisitions would "reflect a material change to the company's
  4 business plans and will result in the acquisition of a significant amount of assets."
  5 WSTIN COSTELLO also included or caused to be included this information in GRN
 6 Holding Corporation's Fonn 10-Q filed with the U.S. Securities and Exchange
 7 Commission on December 23, 2019. Throughout January and February 2020, at JUSTIN
 8 COSTELLO's direction, GRN Holding Corporation issued ten press releases announcing
 9 the completion of due diligence for each company.
                65.      For example, on or about February 24, 2020, GRN Holding Corporation
11     issued a press release announcing that it had "completed its due diligence in connection
12 with the acquisition of Pacific Banking Corp." In the press release, GRN Holding
13     Corporation described Pacific Banking Corp.' s services as meeting "the highest standards
14 of compliance according to BSA and FinCEN requirements" and that the "PBC
15 Compliance Program performs a full audit and compliance assessment of legacy cash and
16 monitors and evaluates daily transactions." In fact, as set forth above, at the time of the
17 issuance of this press release, Pacific Banking Corp., operating through JUSTIN
18 COSTELLO, was actively defrauding at least two marijuana businesses.
19              66.      Beginning in July 2020, at WSTIN COSTELLO's direction, GRN Holding
20 Corporation began announcing binding Letters of Intent to acquire the same companies.
21     In a Form 10-K filed with the U.S. Securities and Exchange Commission on August 13,
22 2020, GRN Holding Corporation stated that it was closing on Letters oflntent with the
23     companies subject to the execution of material definitive agreements.
24              67.      GRN Holding Corporation never completed the acquisitions of the
25     companies, even though JUSTIN COSTELLO was an affiliate, shareholder, owner, or
26 manager of each company. Most of the companies were instead acquired in early 2021
27
        Indictment - 24                                               UNITED STA TES ATTORNEY
        United States v. Costello                                    700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                            SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
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     1 by Renewal Fuels Inc., another OTC-traded company controlled by JUSTIN
     2 COSTELLO. Contrary to JUSTIN COSTELLO's representations to investors, the
     3 companies had little or no revenue or assets.
  4              68.      Between July 1, 2019, and May 18, 2021, over 7,500 investors purchased
  5 and sold GRN Holding Corporation stock while JUSTIN COSTELLO was making, and
  6 causing to be made, the material misrepresentations concerning GRN Holding
  7 Corporation set forth above. Collectively, these investors lost approximately $25 million.
  8 Hempstract Inc.
  9             69.       As part of his scheme and artifice to defraud, JUSTIN COSTELLO
10 fabricated Hempstract, LLC 's assets to: ( 1) mislead investors; (2) inflate the value of
11 Riverdale Oil & Gas Corp. securities; and (3) obtain shares of Riverdale Oil & Gas Corp.
12              70.       On April 28, 2020, Riverdale Oil & Gas Corp. announced a non-binding
13 Letter of Intent to acquire the assets ofHempstract, LLC. On August 6, 2020, Riverdale
14 Oil & Gas Corp. announced that it had acquired all the assets ofHempstract, LLC.
15 JUSTIN COSTELLO received approximately 24 million shares of Riverdale Oil & Gas
16 Corp. in exchange for Hempstract, LLC's assets, valued at approximately $11 million
17 dollars according to Riverdale Oil & Gas Corp. 's disclosure statements. The assets
18 included 3,125 kilograms of CBD Isolate, valued at approximately $10.7 million dollars.
19 In fact, Hempstract, LLC did not have $10.7 million in assets at the time of the merger.
20                             III.   EXECUTION OF THE SCHEME TO DEFRAUD
21              71.      On or about the dates set forth below, at Seattle and elsewhere, in the
22 Western District of Washington, JUSTIN COSTELLO, for the purpose of executing the
23     scheme and artifice described in paragraphs 41 through 71 above, caused to be
24 transmitted by means of wire communication in interstate and foreign commerce the
25     signals and sounds described below, with each transmission constituting a separate Count
26 of this Indictment:
27
        Indictment - 25                                                   UNITED STATES ATTORNEY
        United States v. Costello                                        700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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 1                      Count           Date               Wire Communication

 2                                                    Wire from the State of
                                                      Washington to another State
 3                                                    caused by the deposit of a check
                           9        July 15, 2019     in the amount of $250,000 from
 4
                                                      investors J.M. and B .M. into a
 5                                                    GRN Holding Corporation
                                                      account at O Bee Credit Union
 6                                                    Wire from the State of
 7                                                    Washington to another State
                                                      caused by the transfer of funds in
 8                         10       July 15, 2019     the amount of $4,000,000 from
                                                      investors J.M. and B.M.'s account
 9
                                                      at Bank of America into their T.D.
10                                                    Ameritrade account
                                                      Wire from the State of
11                                                    Washington to another State
12                                                    caused by the deposit of cashier's
                           11       July 23, 2019     check in the amount of $1,800,000
13                                                    from investors J.M. and B.M. into
                                                      a GRN Funds LLC account at
14
                                                      0 Bee Credit Union
15
                                                      Wire from the State of
16                                                    Washington to another State
                                                      caused by the deposit of a check
17                         12      August 1, 2019     in the amount of $75,000 from
                                                      investor R.B. into a GRN Holding
18
                                                      Corporation account at O Bee
19                                                    Credit Union
                                                      Email from JUSTIN COSTELLO
20
                                                      from the State of Washington
21                                                    using email address
                           13      October 14, 2019   jcostello@grnfunds.com to
22                                                    investor D.W. in another State and
23                                                    to J.W.'s Gmail address, via
                                                      Google'.s servers in another State
24                                                    Wire from the State of
                                                      Washington to another State
25
                                                      caused by the deposit of a check
26                         14     November 12, 2019   in the amount of $50,000 from
                                                      investor R.D. into a GRN Holding
27
      Indictment - 26                                             UNITED STATES ATTORNEY
      United States v. Costello                                  700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                          SEATTLE, WASHINGTON 98101
                                                                         (206) 553-7970
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     1                                                         Corporation account at O Bee
                                                               Credit Union
     2                                                         Wire from the State of
                                                               Washington to another State
     3
                                                               caused by the deposit of a check
     4                          15      November 22, 2019      in the amount of$125,000 from
                                                               investor S.T. into an account in
     5                                                        the name of JUSTIN COSTELLO
 6                                                             at JP Morgan Chase Corp.
                                                              Wire from the State of
 7                                                            Washington to another State
                                                              caused by the deposit of a check
 8
                                16       March 17, 2020       in the amount of $20,000 from
 9                                                            investors D.D. and T.D. into a
                                                              Hempstract, LLC bank account at
10                                                            Timberland Bank
11                                                            Wire from the State of
                                                              Washington to another State
12                                                            caused by the deposit of a check
                                17       March 26, 2020       in the amount of $15,000 from
13
                                                              investors A.H. and K.H. into a
14                                                            Hempstract, LLC bank account at
                                                              Timberland Bank
15
                  All in violation of Title 18, United States Cod·e, Sections 1343 and 2.
16

17                                                 COUNT 18
18                                              (Securities Fraud)
                  72.      The allegations set forth in Paragraphs 1 through 3 8 and 40 through 70 of
19
          this Indictment are re-alleged and incorporated as if fully set forth herein.
20
                  73.      Beginning in or about May 2019 and continuing through in or about May
21
         · 2021, in King County, within the Western District of Washington, and elsewhere, the
22
          defendant, JUSTIN COSTELLO, knowingly and willfully, directly and indirectly, by use
23
          of the means and instrumentc;1lities of interstate commerce, the mails, and the facilities of
24
         national securities exchanges, in connection with the purchase and sale of securities, did
25
         use and employ manipulative and deceptive devices and contrivances, and aided and
26
         abetted others known and unknown to the grand jury, and attempted to do so by:
27
          Indictment - 27                                                  UNITED STATES ATTORNEY
          United States v. Costello                                       700 STEWART STREET, SUITE 5220
          USAO No. 20 l 9R00959                                             SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
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     1 (a) employing devices, schemes, and artifices to defraud; (b) making, and causing others
     2 to make, untrue statements of material facts and omitting to state material facts necessary
     3 in order to make other statements made, in light of the circumstances in which they were
     4 made, not misleading; and (c) engaging in acts, practices, and courses of business which
     5 operated and would operate as a fraud and deceit upon persons - that is, by defrauding
  6 purchasers and sellers of the securities of GRN Holding Corporation through making and
  7 causing to be made statements that contained material misrepresentations and omissions
  8 about JUSTIN COSTELLO's educational and professional background and concerning
  9 GRN Holding Corporation's acquisition of other companies, including companies owned
 10 and controlled by JUST.IN COSTELLO.
11              All in violation of Title 15, United States Code, Sections 78j(b) and 78ff and Title
12      17, Code of Federal Regulations, 240.106-5.
13
                                                    COUNT 19
14                                               (Securities Fraud)

15              74.      The allegations set forth in Paragraphs 1 through 38 and 40 through 70 of

16 this Indictment are re-alleged and incorporated as if fully set forth herein.
17              75.      Beginning in or about May 2019 and continuing through in or about May

18 2021, in King County, within the Western District of Washington, and elsewhere, the
19     defendant, JUSTIN COSTELLO, knowingly and willfully, directly and indirectly, by use

20 of the means and instrumentalities of interstate commerce, the mails, and the facilities of
21     national securities exchanges, in connection with the purchase and sale of securities, did

22 use and employ manipulative and deceptive devices and contrivances, and aided and
23     abetted others known and unlmown to the grand jury, and attempted to do so by:

24     (a) employing devices, schemes, and artifices to defraud; (b) making, and causing others

25 to make, untrue statements of material facts and omitting to state material facts necessaiy
26 in order to make other statements made, in light of the circumstances in which they were
27 made, not misleading; and (c) engaging in acts, practices, and courses of business which
        Indictment - 28                                                 UNITED STATES ATTORNEY
        United States v. Costello                                      700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                              SEATTLE, WASHINGTON 9810 I
                                                                               (206) 553-7970
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  1 operated and would operate as a fraud and deceit upon persons - that is, by defrauding
  2 purchasers and sellers of the securities of Hempstract Inc. by making and causing to be
  3 made statements that contained material misrepresentations and omissions about JUSTIN
  4 COSTELLO's educational and professional background and by making material
  5 misrepresentations about the value ofHempstract, LLC's assets.
  6            All in violation of Title 15, United States Code, Sections 78j(b) and 78ff and Title
  7 17, Code ofFederal Regulations, 240.l0b-5.
  8                                             COUNT20
  9                                          (Securities Fraud)

10            76.       The allegations set forth in Paragraphs I through 38 and 40 through 70 of

11 this Indictment are re-alleged and incorporated as if fully set forth herein.
12        77.    Beginning in or about October 2019 and continuing through in or about

13 January 2021, in King County, within the Western District of Washington, and
14 elsewhere, the defendant, JUSTIN COSTELLO, knowingly and willfully, directly and
15 indirectly, by use of the means and instrumentalities of interstate commerce, the mails,
16 and the facilities of national securities exchanges, in connection with the purchase and
17 sale of securities, did use and employ manipulative and deceptive devices and
18 contrivances in contravention of Title 17, Code of Federal Regulations, Section 240 .1 0b-
19 5, by: (a) employing devices, schemes, and artifices to defraud; (b) making, and causing

20 others to make, untrue statements of material facts and omitting to state material facts
21 necessaiy in order to make other statements made, in light of the circumstances in which
22 they were made, not misleading; and (c) engaging in acts, practices, and courses of
23 business which operated and would operate as a fraud and deceit upon persons - that is,
24 JUSTIN COSTELLO retained and paid another individual to use Twitter to engage in a
25 fraudulent pump-and-dump scheme through which JUSTIN COSTELLO misrepresented
26 the nature of his personal financial stake in Foothills Exploration Inc.; REMSleep
27 Holdings, Inc.; Clancy Systems International Inc.; and Riverdale Oil and Gas
      Indictment - 29                                                  UNITED STATES ATTORNEY
      United States v. Costello                                       700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                               SEATTLE, WASHINGTON 9810 l
                                                                              (206) 553-7970
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     1 Corporation/Hempstract Inc., and misrepresented and caused to be misrepresented facts
     2 about the companies which issued the stock in order to induce others to purchase those
  3 stocks, and thereby drive up the stocks' prices, while ITJSTIN COSTELLO
  4 simultaneously and secretly sold, or dumped, his previously acquired shares at those
  5 artificially inflated prices.
 6               78.      Beginning in October 2019, ITJSTIN COSTELLO conducted a series of
 7 manipulative pump-and-dump schemes involving the securities of at least four issuers,
 8 including Foothills Exploration Inc., REMSleep Holdings, Inc., Clancy Systems
 9 International Inc, and Riverdale Oil and Gas Corporation/Hempstract Inc. To conduct his
10 pump-and-dump schemes, JUSTIN COSTELLO enlisted the services of a prolific Twitter
11 user with the initials D.F.
12              79.       On December 9, 2019, JUSTIN COSTELLO sent direct messages to D.F.
13 on Twitter about splitting the profits after pumping Foothills Exploration Inc. (ticker
14 symbol FTXP), and they agreed on a 70%-30% split. That day, JUSTIN COSTELLO
15 began purchasing shares ofFTXP. Also on December 9, 2019, JUSTIN COSTELLO
16 sent D.F. a direct message on Twitter and told D.F. that he was going to try and grab
17 another million shares early the next morning and instructed D .F. to " ... maybe wait till
18     10am EST [on December 10th ] to push go." JUSTIN COSTELLO purchased a total of
19 7,699,053 shares ofFTXP in his brokerage account on December 9, 2019.
20              80.      At 9:41 a.m. EST on December 10, 2019, JUSTIN COSTELLO sent D.F. a
21     direct message on Twitter directing D.F. to tout FTXP's ''large reserves." After D.F.
22 informed JUSTIN COSTELLO that the stock was "running" and asked JUSTIN
23 COSTELLO ifhe still wanted to wait until 10 a.m., ITJSTIN COSTELLO directed D.F.
24 to begin tweeting about the stock at 9:42 a.m. EST. D.F. complied with ITJSTIN
25 COSTELLO's direction, and began tweeting about FTXP at 9:44 a.m. EST. D.F.'s first
26 tweet identifying FTXP claimed that FTXP had "hit the motherlode!" and found a "Huge
27
        Indictment - 30                                              UNITED STATES ATTORNEY
        United States v. Costello                                   700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                           SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
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     I reserve." On December 10, 2019, D.F. posted approximately 90 tweets about FTXP from
     2 his Twitter account. After D.F. began tweeting about FTXP on December 10, 2019, the
     3 price ofFTXP price rose from the closing price on December 9, 2019, of $.007 to a
     4 closing price on December 10, 2019, of$.0273 - an increase of almost 400 percent. On
     5 December 10, 2019, after D .F. began tweeting about FTXP at JUSTIN COSTELLO' s
     6 direction, JUSTIN COSTELLO sold 5,950,000 shares ofFTXP at artificially inflated
  7 prices. On the evening ofDecember 10, 2019, at 7:39 p.m. EST, JUSTIN COSTELLO
  8 instructed D .F. to post a picture of JUSTIN COSTELLO on a private plane reading a
 9 Wall Street Journal and " ... say yes its true JC is in this stock" to continue to pump the
10 price ofFTXP shares. D.F. followed JUSTIN COSTELLO's direction and posted the
11 picture. On December 11, 12, and 13, 2019, JUSTIN COSTELLO sold his remaining
12 shares at artificially inflated prices. JUSTIN COSTELLO realized a total profit of
13     approximately $113,112 in his pump-and-dump ofFTXP shares.
14              81.      rn exchange for pumping FTXP on Twitter, on January 3, 2020, JUSTIN
15     COSTELLO caused a $23,520 wire to be sent to D.F. from a GRN Funds, LLC bank
16 account at Bank of America.
17              82.      On December 13, 2019, JUSTIN COSTELLO began purchasing REMSleep
18 Holdings, Inc. (ticker symbol RMSL). On December 16, 2019, JUSTIN COSTELLO
19 sent D .F. the following direct message on Twitter: "RMSL. In for 4 mil total." JUSTIN
20     COSTELLO also told D.F. that he purchased the shares for an average of approximately
21     $.015. At 11:25 a.m. EST, JUSTIN COSTELLO directed D.F. to "keep me out ofthe
22     [sic] name wise." At JUSTIN COSTELLO's direction, D.F. began publicly tweeting
23     about RMSL on December 16, 2019, at 12 p.m. EST, posting approximately 97 tweets
24 mentioning RMSL from his Twitter account. After D.F. began promoting RMSL on
25 Twitter, RMSL's stock price rose to a high price of $.037 on December 16, 2019.
26
27
        Indictment - 31                                              UNITED STATES ATTORNEY
        United States v. Costello                                   700 STEWART STREET, SUITE 5220
        USAO No. 2019R00959                                           SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
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 1 JUSTIN COSTELLO sold all his RMSL shares between December 16 and December 18,
 2 2019, at artificially inflated prices for a profit of approximately $64,284.

 3           83.      In exchange for pumping RMSL on Twitter, on or about May 22, 2020,

 4 JUSTIN COSTELLO caused a $9,100.08 check to be issued to D.F. from a GRN Funds

 5 LLC bank account at Sound Credit Union.

 6           84.      On October 3, 2019, JUSTIN COSTELLO began purchasing Clancy
 7 Systems International Inc. (ticker symbol CLSI). On October 7, 2019, D.F. publicly
 8 tweeted, "$CLSI Prime to $.20" and "Sidebet $CLSI looks prime.,' After D.F.'s tweets,
 9 JUSTIN COSTELLO sold his remaining CLSI shares on October 7 and October 8, 2019,

10 realizing a profit of approximately $13,598.
11           85.      On December 30, 2019, JUSTIN COSTELLO once again began to
12 accumulate CLSI shares. On February 7, 2020, JUSTIN COSTELLO sent a tweet to
13 D.F., "Took a large position in CL [CLSI] 2 mil today if you want to run it.,' JUSTIN
14 COSTELLO told D.F., "I have 2,000,100 shares avg around .021.,, D.F. responded that
15 he would start on CLSI, and he sent out a public tweet, "$CLSI Looks like a good bet big
16 time." D .F. continued to publicly tweet about CLSI until JUSTIN COSTELLO sold his
17 remaining CLSI shares on February 19, 2020. JUSTIN COSTELLO realized a profit of
18 approximately $29,554 for his pump-and-dump of CLSI shares.

19           86.       On February 15, 2020, JUSTIN COSTELLO informed another individual
20 with the initials A.B. via private Fc).cebook messages that he was buying Riverdale Oil &
21   Gas Corp., and he intended to use it to acquire Hempstract, LLC. JUSTIN COSTELLO
22 instructed A.B. to obtain a moderator position for RVDO on a public stock message
23   board. JUSTIN COSTELLO did this to control the messaging about RVDO and to create

24 a demand for its stock.
25
26
27
      Indictment - 32                                               UNITED STATES ATTORNEY
      United States v. Costello                                    700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                            SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
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     1            87.      JUSTIN COSTELLO also urged investors J.W., D.W., S.T., A.F., and R.B.
  2 to purchase shares of RVDO in their brokerage accounts to create demand for R VDO
  3 stock and increase its share price so that JUSTIN COSTELLO could profit.
  4               88.      JUSTIN COSTELLO began purchasing RVDO shares on January 31, 2020,
  5 and by March 3, 2020, JUSTIN COSTELLO had accumulated approximately 2.1 million
  6 shares ofRVDO at an average price of approximately $.05 per share. At JUSTIN
  7 COSTELLO'S direction, D.F. began tweeting about RVDO on April 28, 2020, sending
  8 out approximately 35 public tweets that day regarding the company. On April 30, 2020,
  9 JUSTIN COSTELLO sent D.F. a message using the Signal app directing D.F. to "punch
10 RV [RVDO] heavy." D.F. tweeted almost every single day in May and June 2020, and

11 by the end of June 2020, RVDO had reached a high price of almost $2.00 per share, from
12 a price of about $.30 a share at the end of April 2020.
13               89.      After D.F. began tweeting about RVDO, JUSTIN COSTELLO sold
14 844,923 shares ofRVDO between May 21, 2020, and June 8, 2020, at an average price of
15 approximately $.41 per share. In January 2021, JUSTIN COSTELLO sold a further
16 72,197 shares ofRVDO (now HPST) at an average price of $.61 per share. JUSTIN
17 COSTELLO made a total profit on these sales of approximately $355,928.
18               All in violation ofTitle 15, United States Code, Sections 78j(b) and 78ff and Title
19 17, Code of Federal Regulations, 240. l0b-5.
20                                             COUNTS 21 to 25
21                                              (Wire Fraud)

22               90.      The allegations set forth in Paragraphs 1 through 38, 40 through 70, and 77

23 through 89 of this Indictment are re-alleged and incorporated as if fully set forth herein.
24       91.    Beginning in or about October 2019 and continuing through in or about

25 January 2021, in King County, within the Western District of Washingto~, and
26 elsewhere, the defendant, JUSTIN COSTELLO, knowingly devised and intended to
27 devise a scheme and artifice to defraud investors in the securities of Foothills Exploration
         Indictment - 33                                                  UNITED STATES ATTORNEY
         United States v. Costello                                       700 STEWART STREET, SUITE 5220
         USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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     1 Inc., REMSleep Holdings, Inc., Clancy Systems International Inc, and Riverdale Oil and
 2 Gas Corporation/Hempstract Inc., and to obtain money and property by means of
 3 materially false and fraudulent pretenses, representations, and promises.
 4                            I.     THE OBJECT OF THE SCHEME TO DEFRAUD
 5              92.      The object of JUSTIN COSTELLO's scheme and artifice to defraud was to
 6 obtain money by purchasing shares of publicly-traded companies and mislead purchasers
 7 of those shares by means of materially false and fraudulent pretenses, representations,
 8 and promises, including by causing D .F. to post false and fraudulent tweets on Twitter.
 9                                        II.      MANNER AND MEANS
10             93.      The manner and means of JUSTIN COSTELLO's scheme to defraud are
11     set forth in paragraphs 77 through 89 of this Indictment.
12                            III.   EXECUTION OF THE SCHEME TO DEFRAUD
13             94.      On or about each of the dates set forth below, in Seattle, in the Western
14 District of Washington and elsewhere, defendant JUSTIN COSTELLO, for the purpose
15 of executing the scheme and artifice described in paragraphs 77 through 89 above, caused
16 to be transmitted by means of wire communication in interstate and foreign commerce
17 the signals and sounds described below, with each transmission constituting a separate
18 Count of this Indictment:
19                       Count              Date                 Wire Communication

20                                                         Wire communication on Twitter
                                                           from JUSTIN COSTELLO in the
21                                                         State of Washington to D.F. in
22                          21        December 9, 2019     another State offering to split the
                                                           profits on the pump-and-dump of
23                                                         FTXP
24
                                                           Wire communication on Twitter
25                                                         from JUSTIN COSTELLO in the
                                                           State of Washington to D .F. in
26                          22       December 10, 2019     another State directing D .F. to tout
27                                                         FTXP's "Large reserves"
       Indictment - 34                                                  UNITED STATES ATTORNEY
       United States v. Costello                                       700 STEWART STREET, SUITE 5220
       USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
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     1
  2

  3                                                           Wire communication on Twitter
                                                              from JUSTIN COSTELLO in the
  4                                                           State of Washington to D.F. in
                               23      December 16, 2019      another State directing D.F. to
  5                                                           keep WSTIN COSTELLO's
  6                                                           name out of the public while
                                                              touting RMSL
  7
                                                              $23,520 wire transfer from GRN
  8                                                           Funds LLC bank account at Bank
                                                              of America in Washington to
 9
                               24        January 3, 2020      D.F.'s bank account at Wells
10                                                            Fargo Bank in the State of
                                                              Virginia
11
12                                                            Wire from the State of
                                                              Washington to another State
13                                                            caused by the issuance of an
                              25         May 26, 2020         electronic check payable to D.F.
14
                                                              in the amount of $9,100.08 from a
15                                                            GRN Funds LLC bank account at
                                                              Sound Credit Union
16
17               All in violation of Title 18, United States Code, Sections 1343 and 2.

18                                      FORFEITURE ALLEGATION

19               95.      The allegations set forth in Paragraphs 1 through 94 of this Indictment are
20 re-alleged and incorporated by reference for the purpose of alleging forfeiture. Upon
21       conviction of any of the offenses alleged in Counts 1 through 25, JUSTIN COSTELLO
22 shall forfeit to the United States any property constituting, or derived from, proceeds
23 Defendant obtained directly or directly, as a result of such offense. All such property is
24 forfeitablepursuantto Title 18, United States Code, Section 981(a)(l)(C) and includes,
25 but is not limited to, a sum of money reflecting the proceeds the Defendant obtained as
26 result of the offense.

27
         Indictment - 35                                                  UNITED STATES ATTORNEY
         United States v. Costello                                       700 STEWART STREET, SUITE 5220
         USAO No. 2019R00959                                               SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
     Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.39 Page 39 of 40
              Case 2:22-cr-00160-RSM             Document 1 Filed 09/28/22 Page 36 of 37




 1           96.      Substitute Assets. If any of the above-described forfeitable property, as a

 2 result of any act or omission of the defendant,

 3                    a.          cannot be located upon the exercise of due diligence;

 4                    b.          has been transferred or sold to, or deposited with, a third party;

 5                    c.          has been placed beyond the jurisdiction of the Court;

 6                    d.          has been substantially diminished in value; or,

 7                    e.          has been commingled with other property which cannot be divided

 8                                without difficulty,

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      Indictment - 36                                                        UNITED STATES ATTORNEY
      United States v. Costello                                             700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                                     SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
     Case 3:22-mj-03667-DEB Document 1 Filed 10/06/22 PageID.40 Page 40 of 40
              Case 2:22-cr-00160-RSM     Document 1 Filed 09/28/22 Page 37 of 37




 1 it is the intent of the United States to seek the forfeiture of any other property of the

 2   defendant, up to the value of the above-described forfeitable property, pursuant to

 3 Title 21, United States Code, Section 853(p).

 4
                                               A TRUE BILL:
 5
 6
                                               DATED:     q1z31zoz7-
 7

 8                                                     Signature ofForeperson redacted pursuant
                                                       to the policy of the Judicial Conference of
 9                                                     the United States.
10
                                                       FOREPERSON
11




                tates Attorney
15
16
       ~              c_, &
   ANDREW FRIEDMAN
17 Assi~tant United States Attorney

18
19

20

21
22
        v
      ....  ~
     MICHAEL Dlliir_. ,
     Assistant United States Attorney
23

24

25

26
27
      Indictment - 37                                                UNITED STA TES ATTORNEY
      United States v. Costello                                     700 STEWART STREET, SUITE 5220
      USAO No. 2019R00959                                             SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
